                                          Case 4:22-mc-80034-DMR Document 35 Filed 07/10/23 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         HEY, INC.,
                                   7                                                        Case No. 22-mc-80034-DMR
                                                        Plaintiff,
                                   8
                                                 v.                                         ORDER TO SHOW CAUSE
                                   9
                                         TWITTER, INC.,
                                  10
                                                        Defendant.
                                  11

                                  12          John Does 1 and 2 filed a motion to stay the court’s June 6, 2023 Order pending their
Northern District of California
 United States District Court




                                  13   appeal to the United States Court of Appeals for the Ninth Circuit. [Docket No. 25.] Pursuant to

                                  14   Civil Local Rule 7-3(a) and the court’s June 26, 2023 Order (Docket No. 32), any brief in

                                  15   opposition to the motion to stay was due by June 29, 2023, but no such opposition has been

                                  16   received. Petitioner hey, Inc. is ordered to respond by July 14, 2023 and show cause for its failure

                                  17   to respond to the motion in accordance with Civil Local Rule 7-3(a) or alternatively to file a

                                  18   statement of nonopposition to the motion as required by Civil Local Rule 7-3(b). This order to

                                  19   show cause does not constitute permission to file a late opposition. If Petitioner does not respond

                                  20   by July 17, 2023, the motion to stay may be granted.                          ISTRIC
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                                  22          IT IS SO ORDERED.
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                                  23   Dated: July 10, 2023                                               IT IS S
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